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United States District Court

DISTRICT OF CONNECTICUT
Chambers of 915 Lafayette Boulevard
Stefan R. Underhill Bridgeport, Connecticut 06604
United States District Judge (203) 579-5714

November 16, 2018

By email and U.S. Mail

Catherine O’ Hagan Wolfe

Clerk of Court

Second Circuit Court of Appeals

Thurgood Marshall United States Courthouse
40 Foley Square

New York, NY 10007

Re: In re United States, No. 18-3430
Dear Ms. Wolfe:

Pursuant to Rule 21(b)(4) of the Federal Rules of Appellate Procedure, I respectfully request the
opportunity to respond to the government’s petition for a writ of mandamus or prohibition. I believe my
participation is necessary because neither party will adequately present to the Court of Appeals an objective
account of the ruling that is challenged in this proceeding.

The government has filed its brief in support of the application for a writ. That brief spends many
pages quoting defense counsel’s arguments, most of which I denied. I prevented defense counsel from
raising jury nullification at jury selection, I rejected his argument that the jury should be charged regarding
the mandatory minimum, and I rejected his argument that the jury should be charged that they have the right
to nullify. The government mistakenly asserts that I have ruled the evidence of the mandatory minimum will
be admitted; several times I emphasized that if the evidence were admitted, then argument about that
evidence could be made. (I do not know whether there will be a legitimate use of that evidence to cross-
examine government witnesses; nor can the government predict what will happen at trial.)

Absent from the government’s brief is a full recitation of the actual ruling in this case. That ruling
included three charges that I intend to deliver in this, as in every case. “[I]t would be a violation of your
sworn duty to base a verdict upon any understanding or interpretation of the law other than the one I give
you.” Doc. # 62 at 5. “If you, the jury, find beyond a reasonable doubt from the evidence in this case that
the government has proved each of the foregoing elements for a particular count, then proof of the charged
crime is complete, and you should find Mr. Manzano guilty on that count.” Jd. “The question of the possible
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punishment that Mr. Manzano will receive if convicted is of no concern to the jury and should not, in any
way, enter into or influence your deliberations. ... Under your oath as jurors, you cannot allow a
consideration of the punishment that may be imposed upon Mr. Manzano, if convicted, to influence your
verdict or enter into your deliberations.” Jd. at 6. These instructions should minimize the risk of jury
nullification. The government’s brief attacks a straw man ruling rather than the limited ruling actually made
in this case.

Defense counsel will not redress those failings. As shown by the quotations in the government’s
brief, he has repeatedly asserted that the Supreme Court has never prohibited jury nullification and has
suggested that the jury’s acknowledged power to nullify calls into question the Second Circuit’s precedent in
this area. I believe defense counsel’s agenda is much more ambitious than merely defending the court’s
rulings.

Accordingly, I request the opportunity to appear through amicus counsel, to brief and argue the
merits of the petition. If this request is granted, John Gleeson of Debevoise & Plimpton LLP would
represent me. Thank you for your consideration of this request.

Sincerely, , A . noe
Stefan R. Underhill

cc: All counsel of record (by email)

SRU/mc
